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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION


      SHREVEPORT CHAPTER #237 OF THE            CASE NO. 5:17-CV-01346
      UNITED DAUGHTE

      VERSUS                                    JUDGE ROBERT G. JAMES

      CADDO PARISH COMMISSION ET AL             MAGISTRATE JUDGE HORNSBY


                                        EXHIBIT LIST
                                  Evidentiary Hearing 12/11/17

PARTY: DEFENDANT
EXHIBIT DESCRIPTION & REMARKS                                                DATE
NUMBER                                                                       ADMITTED
25       Caddo Parish Commission Resolution No. 72 of 2016                   12/11/17
26       Caddo Parish Commission Minutes from October 19, 2017               12/11/17
27       Caddo Parish Commission Resolution No. 69 of 2017                   12/11/17
28       Caddo Parish Commission Minutes from August 18, 2016                12/11/17
29       Quote to disassemble and move Confederate Monument                  12/11/17
30       Maps showing location of courthouse in 1857                         12/11/17
31       Minutes of the Citizens Advisory Committee meetings                 12/11/17
32       Times-Picayune article regarding removal of Confederate Flag        12/11/17
33       Agendas from Citizens Advisory Committee meetings                   12/11/17
34       Agendas and minutes from Citizens Advisory Committee meetings       12/11/17




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